Case 8:18-cv-01378-JLS-DFM Document 196 Filed 11/24/21 Page 1 of 2 Page ID #:6302



   1
   2
   3
   4
   5
   6
   7
   8
   9
  10                       UNITED STATES DISTRICT COURT
  11                     CENTRAL DISTRICT OF CALIFORNIA
  12
  13
       EVOLUSION CONCEPTS, INC., a                  Case No. 8:18-cv-01378-JLS-DFM
  14   California corporation,
  15
                   Plaintiff,
  16         v.                                     AMENDED JUDGMENT IN
  17                                                FAVOR OF JUGGERNAUT
       JUGGERNAUT TACTICAL, INC., a                 TACTICAL, INC. OF NON-
  18                                                INFRINGEMENT OF U.S. PATENT
       California corporation; and DOES 1-10,
  19   inclusive,                                   NO. 8,756,845

  20
                   Defendants.
  21
  22
       AND RELATED COUNTERCLAIMS
  23
  24
  25
  26
  27
  28
                                                1
Case 8:18-cv-01378-JLS-DFM Document 196 Filed 11/24/21 Page 2 of 2 Page ID #:6303



   1         Pursuant to the Court’s April 5, 2021 Order (Doc. 161) Granting Defendant’s
   2   Motion for Summary Judgment of Non-Infringement, Denying Plaintiff’s Motion
   3   for Summary Judgment, and Denying Defendant’s Motion for Sanctions, and
   4   following the Court’s October 26, 2021 Amended Order (Doc. 191) (1) Denying
   5   Plaintiff’s Motion for Miscellaneous Relief (Doc. 189) and (2) Granting in Part
   6   Defendant’s Motion for Attorneys’ Fees and Costs (Doc. 164), the Court directs
   7   entry of an amended judgment as follows:
   8         1.    The Court grants final judgment of non-infringement of each and every
   9   claim of U.S. Patent No. 8,756,845 (“the ‘845 Patent”) in favor of Defendant
  10   Juggernaut Tactical, Inc. (“Defendant”);
  11         2.    The Court awards Defendant its attorneys’ fees in the amount of $874,
  12   223.50;
  13         3.    Defendant is awarded $9,537.89 in costs; and
  14         4.    The Court orders that Plaintiff shall pay Defendant post-judgment
  15   interest on the above amounts in the amount statutorily required by 28 U.S.C.
  16   § 1961.
  17
  18   IT IS SO ORDERED.
  19
  20
       DATED: November 24, 2021
  21
                                       _________________________________________
  22
                                       HON. JOSEPHINE L. STATON
  23                                   UNITED STATES DISTRICT JUDGE
  24
  25
  26
  27
  28


                                                  2
